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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                               ORDER

        On April 4, 2019, the plaintiffs, Jason Leopold and Buzzfeed, Incorporated, filed a

motion for a preliminary injunction, requesting that the Court enter a preliminary injunction

requiring the Department of Justice (the “DOJ”), the DOJ’s Office of Attorney General, the DOJ

Deputy Attorney General, and the DOJ’s Office of Special Counsel (collectively, the

“defendants”), “to process [the p]laintiffs’ FOIA request for the Mueller Report and produce all

non-exempt portions of the Report by April 18, 2019.” Plaintiffs’ Combined Motion for

Preliminary Injunction and Memo in Support at 1 (Apr. 4, 2019), ECF No. 5. The plaintiffs also

filed a motion requesting that “the Court schedule the hearing for April 15, 2019, so as to allow

[the d]efendants to respond to the motion and to finish processing the request by April 18[,

2019,] if the Court grants [the p]laintiffs’ motion.” Plaintiffs’ Request for Expedited Preliminary

Injunction Hearing at 1 (Apr. 4, 2019), ECF No. 6.

        On April 11, 2019, the Court ordered that (1) the defendants “file their opposition to the

plaintiffs’ motion on or before . . . April 15, 2019,” Order at 2 (Apr. 11, 2019), ECF No. 10; (2)

the plaintiffs “file their reply in support of their motion on or before . . . April 16, 2019,” id.; and
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(3) the parties appear for a hearing on the plaintiffs’ motion for a preliminary injunction on April

16, 2019, see id. The defendants timely filed their opposition, see generally Defendants’

Opposition to Plaintiffs’ Motion for a Preliminary Injunction and Defendants’ Motion to Vacate

Hearing (Apr. 12, 2019), ECF No. 14, and requested that the Court “vacate the hearing set for

April 16[, 2019],” id. at 2. Upon consideration of Defendants’ Opposition to Plaintiffs’ Motion

for a Preliminary Injunction and Defendants’ Motion to Vacate Hearing, it is hereby

       ORDERED that this motion is DENIED.

       SO ORDERED this 16th day of April, 2019.


                                                             REGGIE B. WALTON
                                                             United States District Judge




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